 Case 2:10-cr-20194-SHM Document 43 Filed 11/01/11 Page 1 of 1            PageID 73


               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TENNESSEE
                         WESTERN DIVISION
_________________________________________________________________

UNITED STATES OF AMERICA,          )
                                   )
          Plaintiff,               )
                                   )
vs.                                )      CR. NO. 10-20194-Ma
                                   )
WILLIAM HARNESS,                   )
                                   )
          Defendant.               )
_________________________________________________________________

                     ORDER ON CHANGE OF PLEA
_________________________________________________________________


     This     cause   came   on    for     a    change     of   plea    hearing   on

October 24, 2011, Assistant U.S. Attorney Jerry Kitchen appearing

for the Government, and the defendant, William Harness, appearing

in person and with appointed counsel, Mr. David Bell.

     With leave of the Court, the defendant entered a plea of

guilty to Count 1 of the Indictment.                 Plea colloquy was held and

the Court accepted the defendant’s plea.                   Sentencing is set for

Thursday, January 26, 2012 at 10:00 a.m.

     The    defendant    may      remain       on    his   present     bond   pending

sentencing.

     SO ORDERED this 27th day of October, 2011.


                                                S/     Samuel H. Mays, Jr.
                                                SAMUEL H. MAYS, JR.
                                                UNITED STATES DISTRICT JUDGE
